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                  IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS – EASTERN DIVISION

JULIE DUNAI,                                         )
     Plaintiff,                                      )       Case No. 1:19-cv-7292
v.                                                   )
                                                     )       Honorable Judge Charles P. Kocoras
VELA INSURANCE SERVICES, LLC, and                    )
BERKLEY INSURANCE COMPANY                            )
     Defendants.                                     )

            MOTION TO WITHDRAW APPEARANCE OF REMY D. SNEAD

       NOW COMES attorney Remy D. Snead of The Prinz Law Firm, P.C. and moves this Court

for an Order allowing her to withdraw her appearance as counsel of record for Plaintiff Julie Dunai.

Plaintiff shall continue to be represented in this matter by other counsel of record of The Prinz

Law Firm, P.C.

       Wherefore, Plaintiff respectfully requests that this Court enter an Order granting the

withdrawal of Remy D. Snead’s appearance as of February 25, 2020.


Dated: February 25, 2020

                                                     By: /s/_Remy Snead__________
                                                     One of the attorneys for Plaintiff
                                                     ARDC No. 6330473

The Prinz Law Firm, P.C.
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                               CERTIFICATE OF SERVICE

      The undersigned, an attorney, hereby certifies that a true and correct copy of Plaintiff’s
Motion to Withdraw Appearance of Remy D. Snead was served upon the attorneys of record for
Defendants via the Court’s electronic filing system.

Dated: February 25, 2020

                                            Respectfully submitted,

                                            By:    /s/ Remy Snead
                                                   One of the Plaintiff’s Attorneys
                                                   ARDC No. 6330473


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